           Case 4:20-cv-03919-CW            Document 992     Filed 07/03/25   Page 1 of 7




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15                                        Counsel for Objectors
16
                             UNITED STATES DISTRICT COURT
17                         NORTHERN DISTRICT OF CALIFORNIA
18                                OAKLAND DIVISION

19                                                  Case No. 4:20-cv-03919-CW
20   IN RE COLLEGIATE ATHLETE NIL
     LITIGATION                                     THE MENKE OBJECTORS’ NOTICE OF
21                                                  APPEAL FROM A JUDGMENT OR
                                                    ORDER OF A UNITED STATES
22                                                  DISTRICT COURT
23                                                  Hon. Claudia Wilken
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            Case 4:20-cv-03919-CW           Document 992        Filed 07/03/25      Page 2 of 7




 1          Notice is hereby given that Objectors Grace Menke, Flannery Dunn, Mia Levy, Madison

 2   Moore, Sierra Bishop, Georgiana Barr, Mila Yarich, Rachael Holp, Charlotte Forman, and

 3   Audrey Leak appeal to the United States Court of Appeals for the Ninth Circuit this Court’s June

 4   6, 2025 Final Judgment of Dismissal with Prejudice as to Defendants National Collegiate Athletic

 5   Association, Atlantic Coast Conference, The Big Ten Conference, Inc., The Big 12 Conference,

 6   Inc., Pac-12 Conference and Southeastern Conference as Modified (Dkt. 980), and from all other

 7   orders, opinions, rulings, and decisions merged into, underlying, or related thereto, including, but

 8   not limited to, the June 6, 2025 Order Granting Plaintiffs’ Motion for Final Settlement Approval

 9   As Modified (Dkt. 979), and the June 6, 2025 Opinion Regarding Order Granting Motion For

10   Final Settlement Approval of Settlement Agreement (Dkt. 978).

11          The fee has been paid. There is no cross-appeal. A representation statement is attached

12   hereto, as required by Circuit Rule 3-2.

13
14   Dated: July 3, 2025                                  Respectfully submitted,
15   /s/ Steven F. Molo                                   /s/ William J. Cooper
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                                  THE MENKE OBJECTORS’ NOTICE OF APPEAL
                                         CASE NO. 4:20-CV-03919-CW
           Case 4:20-cv-03919-CW            Document 992      Filed 07/03/25   Page 3 of 7




 1                     LOCAL RULE 3-2 REPRESENTATION STATEMENT
 2
           1) Objectors and Appellants in this matter are represented by:
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                                THE MENKE OBJECTORS’ NOTICE OF APPEAL
                                       CASE NO. 4:20-CV-03919-CW
          Case 4:20-cv-03919-CW        Document 992          Filed 07/03/25     Page 4 of 7




 1        2) Plaintiffs and Appellees Grant House, Tymir Oliver, Sedona Prince, Nya Harrison, and
             Nicholas Solomon are represented by Class Counsel:
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     Steve W. Berman                                 Jeffrey L. Kessler (pro hac vice)
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     Emilee Sisco (pro hac vice)                     David G. Feher (pro hac vice)
 4   Stephanie Verdoia (pro hac vice)                David L. Greenspan (pro hac vice)
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          3) Defendant and Appellee National Collegiate Athletic Association is represented by:
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                              THE MENKE OBJECTORS’ NOTICE OF APPEAL
                                     CASE NO. 4:20-CV-03919-CW
           Case 4:20-cv-03919-CW        Document 992        Filed 07/03/25      Page 5 of 7




 1         4) Defendant and Appellee Pac-12 Conference is represented by:
 2   Whitty Somvichian                               Deepi Bansal (pro hac vice)
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     Britt Marie Miller (pro hac vice)               Christopher J. Kelly
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                               THE MENKE OBJECTORS’ NOTICE OF APPEAL
                                      CASE NO. 4:20-CV-03919-CW
           Case 4:20-cv-03919-CW         Document 992       Filed 07/03/25     Page 6 of 7




 1         7) Defendant and Appellee Southeastern Conference is represented by:
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     Lawrence C. Moore, III (pro hac vice)           Michael Timothy Williams (pro hac vice)
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12         8) Defendant and Appellee Atlantic Coast Conference is represented by:
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                                THE MENKE OBJECTORS’ NOTICE OF APPEAL
                                       CASE NO. 4:20-CV-03919-CW
            Case 4:20-cv-03919-CW           Document 992     Filed 07/03/25   Page 7 of 7




 1
     Dated: July 3, 2025
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                                 THE MENKE OBJECTORS’ NOTICE OF APPEAL
                                        CASE NO. 4:20-CV-03919-CW
